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         LAW FIRM
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 6
 7   LEIGHTON H. ROCKAFELLOW, JR.
     AZ Bar #028844
 8   Attorney for Plaintiff
 9
                               UNITED STATES DISTRICT COURT
10                                       FOR THE
11                                 DISTRICT OF ARIZONA

12   BOGUTZ AND GORDON, P.C. as Conservator }
13   and Guardian for MARY JO                }
     SWALWELL-SMITH                          }                 No.
14                                           }
15                Plaintiff.                 }
                                             }                  COMPLAINT
16   vs.                                     }                  (Tort, Motor Vehicle)
17                                           }
                                             }
18   BONILLA EXPRESS, L.L.C.,                }
                                             }                 Assigned to:
19
                  Defendant.                 }
20   ________________________________________}
21
            Plaintiff, as and for its cause of action against the Defendant, complains and alleges as
22
     follows:
23
24                                                 I.
25
            Mary Jo Swalwell-Smith is a resident of Pima County, Arizona.               The actions
26
     complained of herein occurred within La Paz County, Arizona.
27
28


                                                    1
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 1                                                  II.

 2          Bogutz and Gordon, P.C. has been appointed Conservator and Guardian for Plaintiff
 3
     Mary Jo Swalwell-Smith in Pima County case GC20180409.
 4
                                                   III.
 5
 6          Upon information and belief, Defendant is a limited liability company domiciled in
 7
     Moreno Valley, California with Adan Bonilla as sole manager/member.
 8
 9                                                 IV.
10          On the 11th day of May 2018 on westbound Interstate 10 near Mile Post 30
11   outside of Quartzite, La Paz County, Arizona, Adan Bonilla so negligently and/or
12   carelessly operated and/or maintained his motor vehicle, such that the same was caused to
13   crash into and collide with the motor vehicle being driven by Plaintiff. Plaintiff’s vehicle
14   left the roadway at a high rate of speed as a result of thie initial collision with
15   Defendant’s vehicle.
16
                                                    V.
17
            At the time of this incident, Adan Bonilla was operating the vehicle as an operator
18
     and manager of Bonilla Express, LLC.
19
                                                   VI.
20
            At the time of this incident, the vehicle being operated by Adan Bonilla was
21
     owned by Bonilla Express, LLC.
22
                                                  VII.
23
            As a direct and proximate cause of the negligence of the Defendant as aforesaid,
24
25   Plaintiff sustained severe and permanent physical injuries, incurred and continues to incur

26   medical bills for the care and treatment of said injuries, suffered and continues to suffer

27   pain, discomfort, anxiety and loss of enjoyment of life, all to her general and special
28   damages.


                                                    2
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 1
 2                                         VIII.
 3   The damages sought by Plaintiff exceed $75,000.
 4                                          IX.
 5   This court has original jurisdiction based on 28 U.S.C. § 1332.
 6
 7   WHEREFORE, Plaintiff prays for judgment against the Defendant as follows:
 8
     1.      For judgment in such an amount as will reasonably, completely and adequately
 9
             compensate Plaintiff for all of her injuries, damages and losses, as aforesaid.
10
11   2.      For costs of suit necessarily and lawfully incurred herein.
12
     3.      For such other and further relief as the Court deems just and proper in the
13
             premises.
14
15   Dated this 8th day of April 2019.
16
                                          ROCKAFELLOW LAW FIRM
17
                                          Leighton H. Rockafellow, Jr. /s/
18                                        _____________________________
19                                        Attorney for Plaintiff
20
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22
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